         Case 1:21-cr-00552-DLF Document 135 Filed 05/20/23 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                             :
                                                     :
         v.                                          :       Criminal Case No.
                                                     :
 KENNETH JOSEPH OWEN THOMAS,                             :    1:21-cr-00552 (CRC)
                                            :
                  Defendant                 :
                                           :
___________________________________________

            MOTION OF KENNETH JOSEPH OWEN THOMAS
   FOR ENLARGEMENT OF TIME TO FILE MOTION ON BRADY VIOLATIONS
               AND LEAVE TO FILE AMENDED MOTION


       Defendant KENNETH JOSEPH OWEN THOMAS (“Thomas”), through the undersigned

counsel, Roger I. Roots, Esq., hereby moves the Court to allow an amended motion for dismissal

for Brady violations by 9 PM this evening (May 20). Just in the past few hours, counsel for

Thomas has learned that a prosecution witness in Thomas’ trial (Officer Campanale) testified

some two weeks ago in a rival trial before Judge Walton against two individuals (Smith and

Wren) who were standing in the immediate vicinity of Thomas on January 6 during the alleged

assault on Corporal Ainsworth. Upon information and belief, Campanale may have testified that

Smith and Wren were the true perpetrators of the assault on Ainsworth. And, significantly, the

United States has not provided the available transcript to Thomas’ defense.

       Obviously this is a serious Jencks (and likely Brady) violation. It may also implicate

Ainsworth’s “100% certainty” testimony as well.

       There are other rapidly emerging issues regarding late discovery and late disclosure.

       Thomas’ team has haphazardly thrown together a motion to dismiss (just now filed).

However, these rapidly emerging developments lead Thomas’ defense team to request an



                                                1
         Case 1:21-cr-00552-DLF Document 135 Filed 05/20/23 Page 2 of 3




additional 12 hours to file an amended Brady and Jencks motion, by 9 PM this evening.




   CONCLUSION

       The Court is asked to enlarge the time until 9:00 PM tonight, May 20, 2023, and to grant

leave for Defendant to improve and amend his motion up until that time.



Dated: May 20, 2023                          RESPECTFULLY SUBMITTED
                                             KENNETH JOSEPH OWEN THOMAS,

                                             By Counsel

                                             ________/s/_____________________
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                                     CERTIFICATE OF SERVICE

        I hereby certify that this document is being filed on this May 20, 2023, with the Clerk of
the Court by using the U.S. District Court for the District of Columbia’s CM/ECF system, which
will send an electronic copy of to the following CM/ECF participants. From my review of the
PACER account for this case the following attorneys are enrolled to receive notice and a copy
through the ECF system.
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                                                2
Case 1:21-cr-00552-DLF Document 135 Filed 05/20/23 Page 3 of 3




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                             ________/s/_____________________
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                                3
